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                             1]NITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

    UNITED STAT'ES OF AMERICA,                            )
                                                          )
      Plaintifl                                           )
                                                          )
                                                          )   No.4:20-CR-284 RWS
                                                          )
    NICHOLAS MATTHEW RAY.                                 )
                                                          )
      De1'endant                                          )



                                  GUILTY PLEAAGREEMENT

        Come now the parlies and hereby agree, as follows:

I       PARTIES:

        The parties are the defendant NICHOLAS MATTHEW RAY, represented by defense

counsel Nanci McCarthy, and the United States of America (hereinafter "United States" or

"Govemment"), represented by the OfIice of the United States Attomey lor the Eastem District of

Missouri. This agreement does not, and is not intended to, bind any govemmental office or agency

other than the United States Attomey for the Eastern District of Missouri. The Court is neither a

party to nor bound by this agreement.

2.      GUILTYPLEA:

        Pursuant to Rule 1l(c)(1)(A), Federal Rules of Criminal Procedure, in exchange for the

defendant's voluntary plea of guilty to Counts       I and II ofthe charge, the government    agrces that

no further federal prosecution   will   be brought in this District relative to the defendant's Attempt to

Persuade or Coerce a Minor to Engage in Sexual        Activity   and Distribution and Possession of Child

Pornography between approximately March 2020 and June 2020, of which the Govemment is

aware at this time.


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       In addition, the parties agree that the U.S. Sentencing Guidelines Total Offense Level

analysis agreed to by the parties herein is the result of negotiation and led, in part, to the guilty

plea. The parties agree to jointly recommend that the Court that sentence the defendant to a term

of imprisonment of 180 months. The parties understand and agree that the Court is not a party nor

bound to follow this recommendation. Further, should the Court not follow this recommendation

and sentence the defendant to a higher sentence, the parties agree that will not serve as a basis for

the defendant to withdraw the plea of guilty.

       3.      ELEMENTS:

       As to Count I, the defendant admits to knowingly violating Title 18, United States Code,

Section 2422(b), and admits there is a factual basis for the plea and further fully understands that

the elements of the crime of Attempt to Persuade or Coerce a Minor to Engage in Sexual Activity

are: (1) the defendant being twenty-one years or older, (2) using the Internet, a facility or means

of interstate commerce, (3) knowingly attempted to persuade, induce, entice (4) an individual

whom he believed had not attained the age of seventeen years (5) to engage in sexual activity,

specifically deviate sexual intercourse, (6) for which a person could be charged with Statutory

Rape in the Second Degree in violation of Missouri Revised Statute, Section 566.063.

       As to Count II, the defendant admits to knowingly violating Title 18, United States Code,

Section 2252A(a)(2)(B), and admits there is a factual basis for the plea and further fully

understands that the elements of the crime of Distribution of Child Pornography which he admits

to knowingly committing and for which he admits there is a factual basis are: (1) defendant

knowingly distributed (2) using any means or facility of interstate or foreign commerce, including

by computer, (3) any material that contains images of child pornography, (4) which were visual

depictions where the production of such visual depictions involved the use of a minor engaging in



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sexually explicit conduct and such visual depictions were ofa minor engaging in sexually explicit

conduct.

4.      FACTS:

        The parties agrce that the facts in this case are as follows and that the Covemment would

prove these facts beyond a reasonable doubt     if   the case were to go to   trial.   These facts may be

considered as relevant conduct pursuant to Section 1B1.3:

        I   .    On May 2,2014, the defendant was convicted of possession of child pornography

 in violation of Missouri Revised Statute, Section 573.037, in St. Charles County Circuit Court.

The defendant served a three year prison sentence on this conviction.

        2.       Prior to March 23, 2020, an investigator with the St. Louis County Police

 Department (SLCPD) assigned to the St. Louis FBI Child Exploitation Task Force created an

online profile on the social media application Grindr that indicated that he is a 20-year-old male

who is into mutual masturbation and taboo pom (hereinafter "Chad").

        3.       On March 23, 2020, and into the early moming hours of March 24,2020, "Chad"

was contacted via direct message by the defendant, who was using the screen name of "Looking

 30."

        4.       Over the course of several messages that occurred through the Grindr application,

the defendant stated that he has a sexual interest in minors as young as eight years. The defendant

 further stated that he previously had sexual experiences with a l2-year-old minor boy in the

 bathroom at a   pool.   The defendant also stated that he was interested in child pomography, and

 that he has previously received such material from others in online chat messages. "Chad"

 responded that he had prior sexual experience with a 14-year-old minor male (hereinafter       "Tyler").




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In fact, "Tyler" is another aiias of the same undercover officer who was known to the defendant

as "Chad."

        5.      The defendant then provided his cell phone number, and "Chad" and the defendant

began to communicate with each other through text messages.

        6.       In text   messages dated March       23, 2020, the defendant provided a graphic

description of his sexual experience with the minor at the pool. The defendant then asked "Chad"

to provide pictures of "TyleC' and to give "Tyler" the defendant's contact information. The

defendant then asked whether "Chad" was interested in having a "3some" with "Tyler" and the

defendant. In another message, the defendant stated that he was masturbating to child pomography

during their text conversation.

        7.       In text   messages dated March    23 md 24, 2020, "Chad" stated that he         was

attempting to send child pornography to the defendant via email message. In fact, "Chad" sent a

corrupted file to the defendant. During the course ofthe text messages, the defendant stated that

he had attempted to open the message but was unsuccessful.

        8.       ln text   messages dated March   25,2020, the defendant asked "Chad"     if   he had

spoken to    "Tyler." "Chad" told the defendant that "Tyler" "was into it" (refening to a sexual

encounter) but that he needed to speak to the defendant directly first to get more comfortable. The

defendant told the undercover officer that he would speak directly to "Tyler."

        9.       On March 26, 2020, "Tyler" sent a text message to the defendant introducing

himself.

        10.      Between March 26, 2020, and Aprrl 27,2020, the defendant communicated

separately via text messages with both "Chad" and      "Tyler." Many of these messages were    sexual

 in nature and were focused on the defendant, "Chad," and   "Tyler" meeting up and engaging in sex.



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        11.      On April 28,2020, the defendant sent a text message to "Chad" advising that he

had'Just hit thejackpot" and had "l000+ vids and pics" (referring to child pornography). "Chad"

asked the defendant to send the child pomography to him via            Kik online messages. On the         same


date, the defendant, using the   Kik user name "Reign Matthews"             sent "Chad" a message on         Kik

that contained a Mega      Link. The SLCPD investigator (who              was posing as both "Chad" and

 "Tyler") opened and downloaded the link and found                  it to   contain 2,192 videos      of   child

 pomography, including but not limited to the following:

            a.   "Baby Boy Fucked By lTyo Brother (original).mpg"                - a graphic video file that
                 depicts, in part, an adult male inserting his penis into the rectum           ofan infant   and

                 raping the infant:

            b. "IMG       2923.mov"   -   a graphic video   file that depicts, in part, a prepubescent minor

                 male performing oral sex on an adult male and then being penetrated anally by the

                 same adult male;

            c.   "2018-09-20 02.55.10.mp4"        -   a graphic video file that depicts, in part, a nude

                 prepubescent minor female with her vagina being penetrated digitally by an adult

                 male;

            d.   "2018-10-19 03.31.48.mp4"         - a graphic video file that depicts, in part, a
                 prepubescent minor female        with her vagina being penetrated by an adult male

                 penis;

            e.   "3_A_N Os.wmv"       -   a graphic video   file that depicts, in part,   a toddler aged female


                 with her vagina and mouth being penetrated by an adult male penis.




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         12.    Between April29,2020, and June 7,2020, the defendant and "Chad" exchanged

 sporadic text messages, continuing to be sexual in nature and discussion of meeting up in person

 to engage in sexual activity.

         13.    On June 8, 2020, the defendant and "Chad" exchanged text messages wherein the

 discussed meeting in person on June 10,2020, at a hotel room.

         14.    On June 9,2020, "Chad" sent a text message to the defendant that "Tyler" was

 interested in joining the planned sexual encounter, but that     "Tyler" wanted to speak with the

defendant   first. The defendant   said that he was ready to speak with   "Tyler" right away.

         15.    The defendant and "Tyler" then exchange numerous text messages regarding the

 planned sexual encounter for the following day. In one message, the defendant asked "Tyler" how

 much time he had to spend at the hotel. ln other messages, the defendant told      "Tylef'the   size   of

his penis and asked whether "Tyler" preferred to be on the top or on the bottom during sex. ln

another message, the defendant told "Tyler" that he (the defendant) had sex with a l5-year-old boy

 several weeks earlier. In other messages, the defendant expressed excitement about having sex

with "Tyler."

         16.    On June 10,2020, the defendant and "Chad" exchanged text messages about the

planned sexual meeting at the       hotel. "Chad" told the defendant to meet at a hotel room in

Brentwood, Missouri, within the Eastern District       of Missouri. The defendant asked "Chad"
whether "Tyler" was with him, and "Chad" responding that he was picking him up now. [n another

message, the defendant asked "Chad" whether they were going to be naked when he arrived.

        17.     At approximately l:51 pm, the defendant anived at the hotel room door and was

properly arrested.

         18.    In summary. the defendant admits to the following:



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            a.   On or about June 10, 2020, the defendant knowingly used the lnternet, a facility or

means   of interstate commerce, in attempt to persuade, induce, entice "Tyler," whom he believed

was a minor male aged 14 years, to engage in sexual activity, specifically deviate sexual

intercourse, for which a person could be charged with Statutory Rape in the Second Degree in

violation of Missouri Revised Statute, Section 566.034.

           b.    On or about March 26,2020, the defendant knowingly distributed images of child

pomography using the lnternet, Kik and Mega, and the images were visual depictions where the

production of such visual depictions involved the use of a minor engaging in sexually explicit

conduct and such visual depictions were   ofa minor engaging in sexually explicit conduct.

5.      STATUTORYPENALTIES:

        As to Count I, the defendant fully understands that the maximum possible penalty provided

by law for the crime of Attempt to Persuade or Coerce a Minor to Engage in Sexual Activity to

which the defendant is pleading guilty is imprisonment of not more than life, a fine of not more

than $250,000, or both such imprisonment and          fine. The Court may also    impose a period   of

supervised release   of not more than life and not less than five years. The defendant fully

understands that the crime charged to which a guilty plea is being entered requires a

mandatory minimum term of imprisonment of at least 10 years.


        As to Count II, the defendant fully understands that the maximum possible penalty

provided by law for the crime of Distribution of Chitd Pornography to which the defendant is

pleading guilty is imprisonment   ofnot more than 40 years    and a fine   ofnot more than $250,000.

The Court may also impose a period ofsupervised release ofnot more than life years and not less

than five years. The defendant fully understands that the crimes to which a guilty plea is




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 being entered, Distribution of Child Pornography, requires a mandatory minimum term of

 imprisonment ofat least 15 years.

        The defendant understands that the Court may impose the sentences to run consecutively

 (one after the other), or concurrently (at the same time).

        Additionally, per      l8   U.S.C.    5   2259A, defendant fully understands that for offenses

 committed on or after December 7, 2018, in addition to other assessments, the Court may impose

 an assessment for each count       ofno more than:

                (t)     $35,000.00 if convicted of any other trafficking in child pomography
                        offense as defined by $ 2259(c)(3), which includes offenses under:
                        i.          18   u.s.c. s 22st(d);
                        ii.         l8 U.S.C.     $$ 22s2(a)(l) through (3);
                        iii.        18 U.S.C. $$ 22s2A(a)(l) through (4);
                        iv.         l8  U.S.C. $ 2252A(g) (in cases in which the series offelony
                                    violations exclusively involves violations of $$ 2251(d), 2252,
                                    2252A(aX I ) through (5), or 2260(b)); or
                        v.          l8 U.S.C.2260(b);

 6.      U.S. SENTENCING            CUID[l.INES:        2018   MANUAL:

        The defendant understands that this offense is affected by the U.S. Sentencing Guidelines

 and the actual sentencing range is determined by both the Total Offense Level and the Criminal

 History Category. The parties agree that the following are the U.S. Sentencing Guidelines Total

 Offense Level provisions that apply.

        a.      Offense Conduct:

                (l)     Count I      -   Attempt to Persuade or Coerce a Minor to Engage in Sexual

        Activity

                        (a)     Base Offense        Level: The parties   agree that the base offense level is

                        twenty-eight (28), as found in Section 2G1.3(a)(3).



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                  (b)   Chapter 2 Specific Offense Characteristics: The parties agree that

                  the following Specific Offense Characteristics apply:

                         (i)        Two (2) levels should be added pursuant to $2G1.3(bX3)

                         because the offense involved the use             of a computer to   persuade,

                         induce, entice, coerce, or facilitate the travel of, the minor to engage

                         in prohibited sexual conduct.

            (2)   Count II   -   Distribution of Child Pornography

                  (a)   Base Offense    Level: The parties      agree that the base offense level is

                  twenty-two (22), as found in Section 2G2.2(a)(2).

                  (b)   Chapter 2 Specific Offense Characteristics: The parties agree that

                  the following Specific Offense Characteristics apply:

                         (i)       Two (2) levels should be added pursuant to $2G2.2(b)(2),

                         because the "material involved a prepubescent minor or a minor who

                         had not attained the age    of   l 2 years;"


                         (ii)      Two (2) levels should be added pursuant to $2G2.2(bX3XF)

                         because the defendant knowing engaged in distribution other than

                         the distribution described in $2G2.2(b)(3)(A)-(E);

                         (iiD       Four (4) levels should be added pursuant to $2G2.2(b)(4),

                         because the "offense involved material that portrays           (A) sadistic or

                         masochistic conduct or other depictions of violence;"

                         (iv)       Two (2) levels should be added pursuant to $2G2.2(b)(6),

                         because the oflense involved the use           of a computer or an interactive

                         computer service        for the possession, transmission, receipt,          or



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                                       distribution ofthe material, or for accessing with the intent to view

                                       the material;" and

                                       (v)     Five (5) levels should be added pursuant to $2G2.2(bX7XD),

                                       because   the offense involved "600 or more images" of child

                                       pomography.

          b.        Chapter 3 Adiustments: The parties recommend that the following adjustme nts,

 other than acceptance of responsibility, apply:

                    (l)     Counts     I   (Attempt to Persuade or Coerce a Minor to Engage in Sexual

 Activity) and Count II (Distribution of Child Pomography) do not group pursuantto Section 3D1.2

 because: the counts do not involve the same victim and the same act or transaction; the counts do

 not involve the same victim and two or more acts or transactions connected by a common criminal

 objective or constituting part of a common scheme or plan; one count does not embody conduct

 that is treated as a specific offense characteristic in, or other adjustments to, the guidelines to

 another ofthe counts; and Section 2Gl .3, the guideline for Attempt to Persuade or Coerce a Minor

 to Engage in Sexual Activity, is not one ofthe guidelines required to be grouped under 3D1.2(d).

                    (2)     Pursuant to Section 3D1.4(a) (Determining the Combined Offense level),

 Count    ll   (Distribution of Child Pornography) counts as one        (l)   unit because it has the highest

 offense level (Level 37).

                    (3)     Pursuant to Section 3D I .4(a) (Detemining the Combined Offense Level),

 Count II (Attempt to Persuade or Coerce a Minor to Engage in Sexual Activity) counts as one-half

 (l/2) units    because   it is from   5 to 8 levels less serious than the Group with the highest offense

 level.

                    (4)     Pursuant^to Section    3D L4 (Determining the Combined Offense Lerel),



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 one    (l)    level should be added because the total number of units is one and one-half (l%). This

 places the offense level, after application of Section 3D1.4, at           thirty-eight (38).

              d.      Other Chap ter 3 Adiustments:

                      (1) Accentance of Responsibilitv: The parties agree that three (3) levels should

 be deducted pursuant         to Section 3E1.1(a) and (b), because the defendant has clearly demonstrated

 acceptance of responsibility and timely notified the government of the defendant's intention to

 plead    guilty. The       parties agree that the defendant's eligibility for this deduction is based upon

 information presently known.            If   subsequent   to the taking of the guilty plea the govemment

 receives new evidence of statements or conduct by the defendant which it believes are inconsistent

 with defendant's eligibility for this deduction, the government may present said evidence to the

 court, and argue that the defendant should not receive all or part of the deduction pursuant to

 Section 3E I .l , without violating the plea agreement.

                      (2)      Other Ad iustments: The parties agree that the fbllowing additional

 adj ustments      apply: none

              c.      Estimated Total OlTense Levcl: The parties estimate that the Total Olfense Level

 is   thirtr-fir'e   (15)

              d.      Criminal Historv: The determination              ol   the   def'endant's   Criminal   II   istorv

 Category shall be left to the Court. Either party may challenge, before and at sentencing, the

 finding ofthe Presentence Report         as to the defendant's   criminal history and the applicable category.

 The defendant's criminal history is known to the defendant and is substantially available in the

 Pretrial Services Report.

              e.      Effect of Parties' U.S. Sentencing Guidelines Analvsis: The parties agree that

 the Court is not bound by tho Guidelines analysis agreed to herein. The parties may uot have



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 foreseen   all applicable Guidelines. The Court may, in its discretion, apply or not apply any

 Guideline despite the agreement herein and the parties shall not be permitted to withdraw lrom the

 plea agreement.

 7.        WAIVER OF APPEAL AND POST-CON}'ICTION RIGHTS:

           a.    Appeal: The     defendant has been         fully apprised by defense counsel of       the

 defendant's rights concerning appeal and fully understands the right to appeal the sentence under

 Title I 8, United States Code, Section 3742.

                 (t)    Non-Sentencing lssueg:           The parties waive all rights to appeal all non-

 jurisdictional, non-sentencing issues, including, but not Iimited to, any issues relating to pretrial

 motions, discovery and the guilty plea, the constitutionality ofthe statute(s) to which defendant is

 pleading guilty and whether defendant's conduct falls within the scope ofthe statute(s)

                 (2)    Sentencing Issues: In the event the Court acce pts the plea. accepts the U.S.

 Sentencing Guidelines Total Offense l,evel agreed to herein, and, after determining a Sentencing

 Guidelines range, sentences the defendant within or below that range, then, as part             ol   this

 agreement. the defendant hereby waives         all rights to appeal all sentencing issues other      than

 Criminal History. but only   if it affects   the Base Offense Level or Criminal History Category.

 Similarly, the Government hereby waives all rights to appeal all sentencing issues other than

 Criminal History, provided the Court accepts the plea, the agreed Total Oflense Level and

 sentences the defendant within or above that range.

           b.   flabeas Corpus: The defendant agrees to waive all rights to contest the conviction

 or sentence in any post-conviction proceeding, including one pursuant to Title 2g, united states

 Code, Section 2255, except for claims of prosecutorial misconduct or ineffective assistance of

 counsel



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        C        Ilight to Records: 'l hc defendant rvaives all li ghts, whcther   asscrlcd dircctly or by

 a representative, to request from any department or agency of the United States any records

 pertaining to the investigation or prosecution ofthis case, including any records that may be sought

 under the Freedom of Information Act, Title 5, United States Code, Section 522, or the Privacy

 Act, Title 5, United States Code, Section 552(a).

 8      OTHER:

        a.       Disclosures Required by the United States Probation           Office: The     defendant

 agrees to   truthfully complete and sign forms as required by the United States Probation Office

 prior to sentencing and consents to the release of these forms and any supporting documentation

 by the United States Probation Olfice to the Govemment.

        b.       Civil or Administrat ive Actions not Barred: Effect on Other Governmental

 Agencies: Nothing contained herein limits the rights and authority of the United States to take

 any civil, tax, imrnigration/deportation or administrative action against the defendant.

        c,       Supervised Releasq: Pursuant to an y sr.rpervised release term, the Cou( will

 impose standard conditions upon the defendant and may impose special conditions related to the

 crime defendant committed. Some of these special conditions may include that defendant not

 possess a computer or intemet access, that defendant not have contact        with minors without the

 authorization ofthe Probation Olficer, that defendant participate in sexual offender counseling and

 that defendant not maintain a post office box. ln addition, as a condition of supervised release,

 defendant shall initially register with the state sex offender registration in Missouri, and shall also

 register with the state sex offender registration agency in any state where defendant resides, is

 employed, works, or is a student, as directed by the Probation Officer. The defendant shall comply

 with all requirements offederal and state sex offender registration laws.



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         These and any other special conditions imposed by the Court         will   be restrictions   with which

 defendant   will   be required to adhere. Violation of the conditions ofsupervised release resulting in

 revocation may require the defendant to serve a term of imprisonment equal to the lenglh of the

 term of supervised release, but not greater than the term set forth in Title 18, United States Code,

 Section 3583(e)(3), without credit for the time served after release. The defendant understands that

 parole has been abolished.

         d.         Mandatory Special AssessEqti Pursuant to Title 18, United States Code,

 Section 3013, the Court is required to impose a mandatory special assessment of$100 per count

 for a total of$200, which the defendant agrees to pay at the time ofsentencing. Money paid by the

 defendant toward any restitution or fine imposed by the Court shall be first used to pay any unpaid

 mandatory special assessment.

         Pursuant to    Title   18, United States Code, Section 3014,    for offenses occurring on or after

 May 29,2015, and before September 30,2021, the Court is required to impose an assessment of

 $5,000 on any non-indigent defendant convicted of an offense under             -    Chapter I l7 (relating to

 transportation for illegal sexual activity and related crimes, including, but not limited to,         l8 U.S.C.

 5 2422(b) (enticement      of a child) and l8 U.S.C.        $ 2423 (transportation   of minors)); or and l8

 U.S.C. $ 2252A (transportation, distribution, receipt, possession, or access with the intent to view

 child pornography)).

         The assessment imposed under 18 U.S.C. $ 3014 is in addition to the mandatory special

 assessment imposed under        l8 U.S:C. $ 3013.

         e.         Possibilitv of Detention: The defendant shall be subject to immediate detention

 pursuant to the provisions of     Title I 8, United   States Code, Section 3 143.




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          f.      Fines, Ilsstitution and Costs of Incarceration and Sunen'ision: The Clourt ma

 impose a fine, restitution (in addition to any penalty authorized by law), costs of incarceration and

 costs of supervision. The defendant agrees that any fine or restitution imposed by the Court          will

 be due and payable immediately. Pursuant to       Title   18, United States Code, Sections 3663,{ and

 2259, an order of restitution is mandatory for all crimes Iisted in Sections 3663A(c) and 2259.

 Regardless    ofthe Count ofconviction, the amount of mandatory restitution imposed shall include

 all amounts allowed by Sections 3663A(b)         and 2259 and the amount     of loss agreed to by      the

 parties, including all relevant conduct loss. The defendant agrees to provide    full restitution to all

 victims of all charges in the indictment without regard to the count or counts to which the defendant

 has agreed    to plead guilty. Under Section 2259(c)(3), the minimum amount of restitution per

 victim for each count if conviction is $3,000 for crimes occuring on and after December 7, 201 8.

          g.      Forfeiture: The defendant       agrees the stipulated facts above are sufficient to

 support forfeiture of certain assets pursuant to the applicable forfeiture authorities. Defendant

 specifically agrees to the forfeiture of the following: an Apple Iphone cellular telephone. The

 defendant agrees the Court may enter a consent preliminary order of forfeiture any time before

 sentencing, and such Order   will   become final as to the defendant when it is issued and   will   be part


 of the   sentence. The defendant agrees not      to object to any administrative, civil or criminal

 forfeiture brought against any assets subject to forfeiture. The defendant          will   execute any

 documents and take all steps needed to transfer title or ownership ofsaid assets to the Govemment

 and/or to rebut the claims of nominees and/or alleged third party owners. The defendant knowingly

 and intelligently waives all constitutional and statutory challenges to any forfeiture carried out in

 accordance with this plea agreement, including but not limited to that defendant was not given

 adequate notice of forfeiture in the charging instrument.




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            The defendant knowingly and voluntarily waives any right, title, and interest in all items

 seized by law enforcement officials during the course of their investigation, whether or not they

 are subject to forfeiture, and agrees not to contest the vesting of     title of such items in the United

 States. The defendant a$ees that said items may be disposed          of by law enforcement officials in

 any manner.

 9.         AC KNOWLEDGMEN'I'AND WAI\'ER OT THE DE,FENDANT'S RIGHTS:

            In pleading guilty, the defendant acknowledges, fully understands and hereby waives his

 rights, including but not limited to: the right to plead not guilty to the charges; the right to be tried

 by   a   jury in a public and   speedy trial; the right   to file pretrial motions, including motions to

 suppress or exclude evidence; the right at such trial       to a presumption of innocence; the right to

 require the Government to prove the elements ofthe offenses charged against the defendant beyond

 a reasonable doubt; the right not to testify; the right not to present any evidence; the right to be

 protected from compelled self-incrimination; the right at trial to confront and cross-examine

 adverse witnesses; the right to testify and present evidence and the right to compel the attendance

 of witnesses. The defendant further understands that by this guilty plea, the defendant expressly

 waives allthe rights set forth in this paragraph.

            The defendant fully understands that the defendant has the right to be represented by

 counsel, and ilnecessary, to have the Couft appoint counsel at trial and at every other stage ofthe

 proceeding. The defendant's counsel has explained these rights and the consequences ofthe waiver

 ofthese rights. The defendant fully understands that, as a result ofthe guilty plea, no trial will, in

 fact, occur and that the only action remaining to be taken in this case is the imposition of the

 sentence-




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        Defendant understands that by pleading guilty, defendant          will be subject to federal and

 state sex offender registration requirements, and that those requirements may apply for        life.   The

 defendant understands that defendant must keep said registrations current, shall notify the state sex

 offender registration agency or agencies of any changes to defendant's name, place of residence,

 employment, or student status, or other relevant information. Defendant shall comply with

 requirements to periodically verify in person said sex offender registration information. Defendant

 understands that defendant     will be subject to possible federal and state penalties for failure      to

 comply with any such sex offender registration requirements. If defendant resides in Missouri

 following release from prison, defendant will be subject to the registration requirements of

 Missouri state law. Defendant further understands that, under l8 U.S.C. $ 4042(c), notice will be

 provided   to   certain law enforcement agencies upon release from confinement following

 conviction. Defense counsel has advised the defendant ofthe possible sex offender registration

 consequences resulting from the plea.

        lf the defendant is not   a U.S. citizen, the   guilty plea could impact defendant's immigration

 status or result in deportation.   ln particular, if any crime to which defendant is pleading guilty    is


 an "aggravated   felony"   as defined by   Title 8, United States Code, Section I l0l (a)(43), removal or

 deportation is presumed mandatory. Defense counsel has advised the defendant of the possible

 immigration consequences, including depodation, resulting from the plea.

        The defendant is    fully satisfied with the representation received from defense counsel. The

 defendant has reviewed the Government's evidence and discussed the Govemment's case and all

 possible defenses and defense witnesses with defense counsel. Defense counsel has completely

 and satisfactorily explored all areas which the defendant has requested relative to the Covemment's

 case and any defenses.




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 t0.      VOLUNTARY NATURI] OF THE GUILTY PLEA AND PLEA AGREEMENT

          This document constitutes the entire agreement between the defendant and                 the

 Government, and no other promises or inducements have been made, directly or indirectly, by any

 agent   ofthe Government, including any Department ofJustice attorney, conceming any plea to       be


 entered in this case. In addition, the defendant states that no person has, directly or indirectly,

 threatened or coerced the defendant to do or refrain from doing an1'thing in connection with any

 aspect of this case, including entering a plea of guilty.

          The delendant acknowledges having voluntarily entered into both the plea agreement and

 the guilty plea. The defendant further acknowledges that this guilty plea is made ofthe defendant's

 own free will and that the defendant is, in fact, guilty.

 1I.      CONSEQUENCES OF POST-PLEA MISCONDUCT:

          After pleading guilty and before sentencing, if defendant commits any crimes, other than

 minor traffic offenses, violates any conditions of release that results in revocation, violates any

 term of this guilty-plea agreement, intentionally provides misleading, incomplete or untruthful

 information to the U.S. Probation Office or fails to appear for sentencing, the United States, at its

 option, may be released from its obligations under this agreement. The Govemment may also, in

 its discretion, proceed with this agreement and may advocate for any sentencing position supported

 by the facts, including but not limited to obstruction ofjustice and denial of acceptance of

 responsibitity.

 12.      NO RIGHT TO WITHDRAW GUILTY PLEA:

          Pursuant to Rule I l(c) and (d), Federal Rules       of Criminal   Procedure, the defendant

 understands that there   will   be no right to withdraw the plea entered under this agreement, except




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    supported   by the facts, including but not limited to obstruction of justice and denial of

    acceptanc€ of responsibility.

    12.

           Pursuant   to Rule   ll(c)    and (d), Federal Rules   of Criminal   Procedure, the defendant

    understands that there   will be no right to withdraw the plea entered under this sgreement, except

     here the Court rejects those portions       of the plea   agreement which deal    with charges   the

                  agrees to dismiss or not to bring.




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                                                                     United States Attomey



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           Date                                             NICHOLAS
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           Date                                             NAN
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                                                                   MCCARTHY
                                                            Attomey for Defendant




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                                                            ERIC SELIG
           D,ofi.-                                          Attomey for Defendant




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